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                             UNITED STATES BANKRUPTCY COURT
                               EASTERN DISTRICT OF MISSOURI
                                  SOUTHEASTERN DIVISION

                                                      §        Chapter 11
 In re:                                               §
                                                      §        Case No. 20-43597-399
 BRIGGS & STRATTON                                    §
 CORPORATION, et al.,                                 §        (Jointly Administered)
                                                      §
                 Debtors.1                            §        Hearing Date & Time:
                                                      §        March 10, 2021 at 9:00 a.m.
                                                      §        (prevailing Central Time)
                                                      §
                                                      §        Hearing Location:
                                                      §        St. Louis Courtroom 5-North

                                            NOTICE OF HEARING

          PLEASE TAKE NOTICE that a hearing on the below listed motion (the “Motion”) is

 scheduled for March 10, 2021 at 9:00 a.m. (Central Time) in Courtroom 5-North at the United

 States Bankruptcy Court for the Eastern District of Missouri, Thomas F. Eagleton United States

 Courthouse, 111 South Tenth Street, St. Louis, Missouri:

          1. Motion of the Plan Administrator for Entry of an Order (I) Establishing Deadlines for
             Filing General Administrative Expense Claims and Governmental Administrative
             Expense Claims; and (II) Approving the Form and Manner of Notice Thereof [Docket
             No. 1604].

          ANY OBJECTIONS OR EXCEPTIONS TO ENTRY OF THE ORDER ON A

 FINAL BASIS MUST BE FILED BY NO LATER THAN MARCH 3, 2021 AND MUST BE

 SERVED UPON THE UNDERSIGNED AND FILED WITH THE CLERK OF THE

 UNITED STATES BANKRUPTCY COURT, THOMAS F. EAGLETON COURTHOUSE,

 111 SOUTH TENTH STREET, 4TH FLOOR, ST. LOUIS, MISSOURI 63102 AS PER THE


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     The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
     number are: Briggs & Stratton Corporation (2330), Billy Goat Industries, Inc. (4442), Allmand Bros., Inc. (4710),
     Briggs & Stratton International, Inc. (9957), and Briggs & Stratton Tech, LLC (2102). The address of the
     Debtors’ corporate headquarters is 12301 West Wirth Street, Wauwatosa, Wisconsin 53222.
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 ELECTRONIC CASE FILING REQUIREMENTS OF THE COURT.

        PLEASE TAKE FURTHER NOTICE THAT interested parties who wish to appear

 telephonically may request dial-in information from the Courtroom Deputy, Craig J. Spidle, at

 (314) 244-4806, craig_spidle@moeb.uscourts.gov.

        PLEASE TAKE FURTHER NOTICE that copies of the Motion may be obtained: (i)

 by accessing the Court’s website at https://ecf.moeb.uscourts.gov through an account obtained

 from the Pacer Service Center at 1-800-676-6856 or www.pacer.gov or (ii) free of charge, by

 accessing the Debtors’ case information website at http://www.kccllc.net/Briggs.

        PLEASE TAKE FURTHER NOTICE that your rights may be affected. You should read

 the Motion carefully and discuss them with your attorney, if you have one in the chapter 11 cases.

 (If you do not have an attorney, you may wish to consult one).

        PLEASE TAKE FURTHER NOTICE that if you do not want the Court to grant the relief

 requested in the Motion, or if you want the Court to consider your views on the Motion, then you

 or your attorney must attend the Hearing.

        If you or your attorney do not take these steps, the Court may decide that you do not oppose

 the relief sought in the Motion and may enter orders granting the relief requested in the Motion.




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  Dated: February 9, 2021
         St. Louis, Missouri
                                           Respectfully submitted,

                                           CARMODY MACDONALD P.C.


                                             /s/ Robert E. Eggmann
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                                           Thomas H. Riske, #61838MO
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                                           Attorneys for the Plan Administrator




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